28 F.3d 1209
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James D. HABURN, Sr., Plaintiff Appellant,v.P. Trevor SHARP, Magistrate Judge, Defendant Appellee.
    No. 94-6215.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 23, 1994.Decided:  July 19, 1994.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Durham.  William L. Osteen, Sr., District Judge.  (CA-93-678-1)
      James D. Haburn, Sr., Appellant Pro Se.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying Appellant's Bivens* action.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Haburn v. Sharp, No. CA-93-678-1 (M.D.N.C. Jan. 7, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Bivens v. Six Unknown Fed.  Narcotics Agents, 403 U.S. 388 (1971)
      
    
    